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10
                              UNITED STATES DISTRICT COURT
11
                            NORTHERN DISTRICT OF CALIFORNIA
12                               SAN FRANCISCO DIVISION

13
     IN RE TRANSPACIFIC PASSENGER               Civil Case No. 3:07-cv-05634-CRB
14   AIR TRANSPORTATION
     ANTITRUST LITIGATION                       MDL No. 1913
15

16   This Document Relates To:                  PLAINTIFFS’ FURTHER NOTICE
                                                REGARDING CORP XANADU’S CLAIM
17   ALL ACTIONS
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     Plaintiffs’ Further Notice Regarding Corp Xanadu’s Claim
     MDL No. 1913; Case No. 3:07-cv-05634-CRB
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 1             Plaintiffs hereby submit this Further Notice Regarding Corp Xanadu’s Claim pursuant to

 2   the Court’s November 7, 2022 order (ECF No. 1368). 1 This litigation has been completely settled

 3   since December 2019 when the Court granted final approval of the last settlement (ECF No. 1318)

 4   and entered a final judgment as to the last Defendant (ECF No. 1319). In the approximately two

 5   years after that, the claims administrator, Rust Consulting, Inc. (“Rust”) processed claims to the

 6   settlements and made an initial distribution of the net settlement funds on March 17, 2022.

 7   Declaration of Joel K. Botzet ¶ 32 (“Botzet Decl.”).

 8             Claimant Corp Xanadu filed a claim to the net settlement funds. Id. ¶¶ 5-6. During the

 9   audit process, Corp Xanadu provided a one-page Affidavit to support its claim. Id. ¶¶ 7-8. Rust

10   mailed a determination letter in August 2021 and check in the amount of $603,831.08 to Corp

11   Xanadu in March 2022, both of which were returned as undeliverable with no forwarding address.

12   Id. ¶¶ 9-12. On July 30, 2022, after the initial distribution of the net settlement funds

13   $104,387,133.10 on March 17, 2022 and after Class Counsel advised Rust to stop reissuing checks

14   on July 26, 2022, but before the Court ruled on Plaintiffs’ motion for secondary distribution of

15   the remaining net settlement funds of $5,448,087.41, Corp Xanadu asked Rust to re-issue the

16   check in the amount of $603,831.08. Id. ¶ 14.

17             Several facts arose, however, that led to concerns over the validity of Corp Xanadu’s

18   claim. Id. ¶ 18; see also Plaintiffs’ Reply in Support of Motion for Secondary Distribution of

19   Remaining Settlement Funds and Request for Attorneys’ Fees and Reimbursement of Expenses

20   (ECF No. 1356). Class Counsel expressed some of these concerns to Corp Xanadu, and with

21   1
      On September 27, 2022, the Court entered the Order Setting Hearing, which provided that “. . .
22   Class Counsel and Rust may audit/re-examine Corp. Xanadu’s claim, consistent with their
     obligation to pay only qualified claimants” (ECF No. 1358). On November 4, 2022, the Court
23   held a hearing on Plaintiffs’ Motion for Secondary Distribution of the Remaining Settlement
     Funds and Request for Attorneys’ Fees and Reimbursement of Expenses (ECF No. 1364). On
24   November 7, 2022, the Court directed Class Counsel to provide an update on the audit of Corp
     Xanadu’s claim by the claims administrator, Rust Consulting, Inc. (ECF No. 1368). On November
25
     8, 2022, Plaintiffs provided an update and stated that they will file a further update regarding Corp
26   Xanadu’s claim on December 7, 2022 (ECF No. 1370). On December 7, 2022, Plaintiffs provided
     another update and stated that they will file a further update regarding Corp Xanadu’s claim on
27   January 16, 2023 (ECF No. 1371).
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         Plaintiffs’ Further Notice Regarding Corp Xanadu’s Claim                                      1
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 1   Rust’s support, requested that Corp Xanadu provide additional information verifying its claimed

 2   purchases. Id. ¶ 18. The Court issued an order on September 27, 2022 allowing Class Counsel

 3   and Rust to “audit/re-examine Corp. Xanadu’s claim consistent with their obligation to pay only

 4   qualified claimants” (ECF No. 1358).

 5          Subsequently, Corp Xanadu provided some documents to Rust on October 18, 2022 and

 6   its CEO, Rich Sutton, met with Rust and Class Counsel by Zoom on November 1, 2022. Botzet

 7   Decl. ¶¶ 19-20. During this one-hour meeting, Rust and Class Counsel asked, and Mr. Sutton

 8   agreed, to provide certain additional documents and/or information to support Corp Xanadu’s

 9   claim. Id. ¶ 20. Rust requested Mr. Sutton provide these documents and/or information by

10   November 30, 2022. Id. ¶ 21. Mr. Sutton, on behalf of Corp Xanadu, provided some but not all

11   documents and/or information requested to Rust on November 30, 2022. Id. ¶ 21.

12          Rust has now completed reviewing the documents Corp Xanadu provided and has made

13   a determination on Corp Xanadu’s claim. Id. ¶ 22. Specifically, Rust determined that “there is $0

14   due in settlement benefits” to Corp Xanadu based on numerous factors. Id. ¶¶ 22-23.

15          One of several factors supporting the determination was that the only supporting travel

16   documents that Corp Xanadu provided—the American Airlines itineraries for travel between July

17   2015 and August 2015—redacted all payor information and Corp Xanadu provided no

18   documentation (e.g., bank statements) showing that it paid for such purchases, rendering it

19   impossible for Rust to confirm that Corp Xanadu was the payor of the claimed ticket purchases.

20   Id. ¶ 23(a). Furthermore, the American Airlines itineraries did not support Corp Xanadu’s claim

21   for 1,337 tickets on five airlines from 2003 through 2008. Id. ¶ 6. For these reasons, among several

22   others, Rust determined that Corp Xanadu does not have any valid claim to the net settlement

23   funds. Id. ¶ 22. This determination concludes Rust’s claims administration work relating to Corp

24   Xanadu. Id. ¶ 24.

25          On December 27, 2022, Rust communicated this determination, including a list of the

26   factors supporting the determination, to Mr. Sutton, with copy to Corp Xanadu’s attorney, John

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      Plaintiffs’ Further Notice Regarding Corp Xanadu’s Claim                                        2
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 1   Allen Roth, by email. Id. ¶ 22. Rust also communicated this final determination by mail to Corp

 2   Xanadu, 8605 Santa Monica Blvd #10287, West Hollywood, CA 90069, on the same day. Id.

 3          The Botzet Declaration describes in detail the scope of Rust’s claims administration work;

 4   Corp Xanadu’s claim; all documents and information requested by Rust; all documents and

 5   information provided by Corp Xanadu; and Rust’s analysis and determination of Corp Xanadu’s

 6   claim. See, generally, Botzet Decl.

 7          On December 8, 2022, the United States Court of Appeals for the Ninth Circuit dismissed

 8   Corp Xanadu’s appeal of the Court’s September 27, 2022 Order Setting Hearing (ECF Nos. 1358

 9   (this Court’s order), 1372 (Ninth Circuit order)).

10          Plaintiffs request that the Court grant their Motion for Secondary Distribution of

11   Remaining Settlement Funds and Request for Attorneys’ Fees and Reimbursement of Expenses

12   (ECF No. 1347).

13

14    Dated: January 16, 2022                             Respectfully submitted,

15   /s/ Elizabeth T. Castillo                            /s/ Christopher L. Lebsock
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